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                    In re: Keurig Green Mountain Single Serve Coffee Antitrust Litigation
                                         1:14-md-2542-VSB-HBP

 UNITED STATES U.S. DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK

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                                                         :
 IN RE: KEURIG GREEN MOUNTAIN                            :    ECF Case
 SINGLE SERVE COFFEE ANTITRUST                           :
 LITIGATION                                              :    1:14-md-2542-VSB-HBP
                                                         :
                                                         :    MDL No. 2542
                                                         :
 ------------------------------------------------------- X
                                                          :
 JBR, Inc. (D/B/A ROGERS FAMILY                           :
 COMPANY),                                                :   1:14-cv-04242-VSB-HBP
                                                          :
                        Plaintiff,                        :
                                                          :
          v.
                                                          :
 KEURIG GREEN MOUNTAIN, INC.                              :
 (F/K/A GREEN MOUNTAIN COFFEE                             :
 ROASTERS, INC. AND AS SUCCESSOR                          :
 TO KEURIG, INC.),                                        :
                                                          :
                        Defendant.                        :
                                                          :
                                                         X
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                                        CERTIFICATE OF SERVICE

          I, Minna Naranjo, hereby certify that on September 23, 2014, I caused a copy of the

 NOTICE OF INTENT TO REQUEST REDACTION to be filed and served electronically via the

 Court's CM/ECF system to all registered parties. I further certify that some of the participants in the case

 and the court reporter may not be registered CM/ECF users. Thus, I have mailed the foregoing

 document(s) by First Class mail, postage prepaid, for delivery to the following non-CM/ECF

 participants:




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 Dated: San Francisco, California
        September 23, 2014                      Respectfully submitted,

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